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                    EXHIBIT B
  APPLICATION AND CERTIFICATION FOR PAYMENT                                                       AIA DOCUMENT G702
  To ( owner ):     Parkview Builders                                   Project:         306ROD
                    , USA                                                                                                                       Application                              Owner
                                                                                         306 Rodney Street #20-080
                                                                                                                                                Number:            4
                                                                                                                                                                                         Architect
                                                                                                                                                Period To:         7/29/2021
  From              Little Washington Fabricators, Inc                  Via              ,                                                                                               Contractor
                                                                                                                                                Architect's
  ( contractor ):   52 Mill Street                                      ( architect ):                                                          Project No:
                    Christiana, PA 17509, USA
                                                                                                                                                Contract Date:     8/17/2020
                                                                                                                                                Invoice Number:    8331
                                                                                                Application is made for Payment, as shown below, in connection with the contract.
  CONTRACTOR'S APPLICATION FOR PAYMENT
                                                                                                                                                                                                                               Case 22-10695-pmm




                                                                                                Continuation Sheet, AIA Document G703, is attached.
  Change Order Summary
                                                                                                1. Original Contract Sum                                                              1,050,000.00
                                                          Additions            Deductions       2. Net Change by Change Orders
  Total Changes Approved in Previous Months                                                                                                                                                   0.00
  by Owner                                                                                      3. Contract Sum to Date ( Line 1 + 2 )                                                1,050,000.00
                                                                                                4. Total Completed and Stored to Date                                                   631,125.00
  Approved this Month                                                                              ( Column G on G703 )
       Number                 Date Approved                                                     5. Retainage:
                                                                                                   a. 10.00 % of Completed Work                                        62,122.50
                                                                                                     ( Column D + E on G703 )
                                                                                                   b. - % of Stored Material                                                   0.00
                                                                                                     ( Column F on G703 )
                                                                                                   Total Retainage ( Line 5a + 5b or Total in Column I of G703 )                        62,122.50
                                                                                                6. Total Earned Less Retainage ( Line 4 less Line 5 )                                  569,002.50
                                                                                                7. Less Previous Certificates ( Line 6 Prior Certificate )                             458,122.50
                                          TOTALS                                                8. Current Payment Due                                                                110,880.00
                                                                                                9. Balance to Finish, including Retainage ( Line 3 less Line 6 )                       480,997.50
  Net Change by Change Orders
                                                                                                                                                                                                            Exhibit ExB Page 2 of 5




The undersigned Contractor certifies that to the best of the Contractor's knowledge,
information, and belief the Work covered by this Application for Payment has been completed
in accordance with the Contract Documents, that all amounts have been paid to the
Contractor for Work for which previous Certificates for Payment were issued and payments
received from the Owner, and that current payment shown herein is now due.
                                                                                                 State of: ____________________       County of: ____________________________
Contractor:    Little Washington Fabricators, Inc                                                Subscribed and sworn to before me this _____ day of ____________, _____
                                                                                                 Notary Public: ________________________________________________________
By:                                                                    Date:                     My commission expires: ________________________________________________
                                                                                                                                                                                                      Doc 118-2 Filed 05/13/22 Entered 05/13/22 13:42:50
                                                                                                                                                                                                                               Desc
Continuation Sheet                                               AIA DOCUMENT G703
AIA Document G703, APPLICATION AND CERTIFICATION FOR PAYMENT, containing                                                              Application Number: 4
Contractor's signed Certification is attached.
                                                                                                                                         Application Date: 7/29/2021
Use Column 1 on Contracts where variable retainage for line items may apply.
                                                                                                                                                Period To: 7/29/2021
Project       306ROD
                                                                                                                                    Architect's Project No:
              306 Rodney Street #20-080
      A                                    B                    C                D              E                F                G                              H               I
                                                                                  Work Completed
     Item #                     Description of Work       Scheduled Value   From Previous   This Period       Materials      Total Completed   % (G/C)   Balance to Finish   Retainage
                                                                              Application                  Presently Stored and Stored to Date                (C-G)
                                                                                                            (Not in D or E)      (D+E+F)
                                                                                                                                                                                                                     Case 22-10695-pmm




1                 Shop Drawings                              28,875.00         28,875.00            0.00             0.00      28,875.00        100.0                0.00      2,887.50
2                 Shop Labor                                127,875.00         99,425.00     28,450.00               0.00     127,875.00        100.0                0.00    12,787.50
3                 Structural Material                       330,000.00       303,125.00      26,875.00               0.00     330,000.00        100.0                0.00    33,000.00
4                 Decking                                    53,625.00         19,500.00     34,125.00               0.00      53,625.00        100.0                0.00      5,362.50
5                 Structural Erection                       155,100.00               0.00           0.00             0.00             0.00                    155,100.00             0.00
6                 Misc Metals                                57,750.00         35,000.00     22,750.00               0.00      57,750.00        100.0                0.00      5,775.00
7                 Install Deck & Studs                       20,625.00               0.00           0.00             0.00             0.00                     20,625.00             0.00
8                 Install Truss & Slates                     49,500.00               0.00           0.00             0.00             0.00                     49,500.00             0.00
9                 Install Stairs & Rails                     33,000.00         23,100.00            0.00       9,900.00        33,000.00        100.0                0.00      2,310.00
10                Install Channels                             9,900.00              0.00           0.00             0.00             0.00                      9,900.00             0.00
11                Punch List & sign off complete            183,750.00               0.00           0.00             0.00             0.00                    183,750.00             0.00
                                                          1,050,000.00       509,025.00     112,200.00         9,900.00       631,125.00         60.1         418,875.00     62,122.50
                                                                                                                                                                                                  Exhibit ExB Page 3 of 5
                                                                                                                                                                                            Doc 118-2 Filed 05/13/22 Entered 05/13/22 13:42:50
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  APPLICATION AND CERTIFICATION FOR PAYMENT                                                       AIA DOCUMENT G702
  To ( owner ):     Parkview Builders                                   Project:         306ROD
                    , USA                                                                                                                       Application                              Owner
                                                                                         306 Rodney Street #20-080
                                                                                                                                                Number:            3
                                                                                                                                                                                         Architect
                                                                                                                                                Period To:         7/29/2021
  From              Little Washington Fabricators, Inc                  Via              ,                                                                                               Contractor
                                                                                                                                                Architect's
  ( contractor ):   52 Mill Street                                      ( architect ):                                                          Project No:
                    Christiana, PA 17509, USA
                                                                                                                                                Contract Date:     8/17/2020
                                                                                                                                                Invoice Number:    8330
                                                                                                Application is made for Payment, as shown below, in connection with the contract.
  CONTRACTOR'S APPLICATION FOR PAYMENT
                                                                                                                                                                                                                               Case 22-10695-pmm




                                                                                                Continuation Sheet, AIA Document G703, is attached.
  Change Order Summary
                                                                                                1. Original Contract Sum                                                              1,050,000.00
                                                          Additions            Deductions       2. Net Change by Change Orders
  Total Changes Approved in Previous Months                                                                                                                                                   0.00
  by Owner                                                                                      3. Contract Sum to Date ( Line 1 + 2 )                                                1,050,000.00
                                                                                                4. Total Completed and Stored to Date                                                   509,025.00
  Approved this Month                                                                              ( Column G on G703 )
       Number                 Date Approved                                                     5. Retainage:
                                                                                                   a. 10.00 % of Completed Work                                        50,902.50
                                                                                                     ( Column D + E on G703 )
                                                                                                   b. - % of Stored Material                                                   0.00
                                                                                                     ( Column F on G703 )
                                                                                                   Total Retainage ( Line 5a + 5b or Total in Column I of G703 )                        50,902.50
                                                                                                6. Total Earned Less Retainage ( Line 4 less Line 5 )                                  458,122.50
                                                                                                7. Less Previous Certificates ( Line 6 Prior Certificate )                             337,050.00
                                          TOTALS                                                8. Current Payment Due                                                                121,072.50
                                                                                                9. Balance to Finish, including Retainage ( Line 3 less Line 6 )                       591,877.50
  Net Change by Change Orders
                                                                                                                                                                                                            Exhibit ExB Page 4 of 5




The undersigned Contractor certifies that to the best of the Contractor's knowledge,
information, and belief the Work covered by this Application for Payment has been completed
in accordance with the Contract Documents, that all amounts have been paid to the
Contractor for Work for which previous Certificates for Payment were issued and payments
received from the Owner, and that current payment shown herein is now due.
                                                                                                 State of: ____________________       County of: ____________________________
Contractor:    Little Washington Fabricators, Inc                                                Subscribed and sworn to before me this _____ day of ____________, _____
                                                                                                 Notary Public: ________________________________________________________
By:                                                                    Date:                     My commission expires: ________________________________________________
                                                                                                                                                                                                      Doc 118-2 Filed 05/13/22 Entered 05/13/22 13:42:50
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Continuation Sheet                                               AIA DOCUMENT G703
AIA Document G703, APPLICATION AND CERTIFICATION FOR PAYMENT, containing                                                              Application Number: 3
Contractor's signed Certification is attached.
                                                                                                                                         Application Date: 7/29/2021
Use Column 1 on Contracts where variable retainage for line items may apply.
                                                                                                                                                Period To: 7/29/2021
Project       306ROD
                                                                                                                                    Architect's Project No:
              306 Rodney Street #20-080
      A                                    B                    C                D              E                F                G                              H               I
                                                                                  Work Completed
     Item #                     Description of Work       Scheduled Value   From Previous   This Period       Materials      Total Completed   % (G/C)   Balance to Finish   Retainage
                                                                              Application                  Presently Stored and Stored to Date                (C-G)
                                                                                                            (Not in D or E)      (D+E+F)
                                                                                                                                                                                                                     Case 22-10695-pmm




1                 Shop Drawings                              28,875.00         28,875.00            0.00             0.00      28,875.00        100.0                0.00      2,887.50
2                 Shop Labor                                127,875.00         85,000.00     14,425.00               0.00      99,425.00         77.8          28,450.00       9,942.50
3                 Structural Material                       330,000.00       206,125.00      97,000.00               0.00     303,125.00         91.9          26,875.00     30,312.50
4                 Decking                                    53,625.00         19,500.00            0.00             0.00      19,500.00         36.4          34,125.00       1,950.00
5                 Structural Erection                       155,100.00               0.00           0.00             0.00             0.00                    155,100.00             0.00
6                 Misc Metals                                57,750.00         35,000.00            0.00             0.00      35,000.00         60.6          22,750.00       3,500.00
7                 Install Deck & Studs                       20,625.00               0.00           0.00             0.00             0.00                     20,625.00             0.00
8                 Install Truss & Slates                     49,500.00               0.00           0.00             0.00             0.00                     49,500.00             0.00
9                 Install Stairs & Rails                     33,000.00               0.00    23,100.00               0.00      23,100.00         70.0           9,900.00       2,310.00
10                Install Channels                             9,900.00              0.00           0.00             0.00             0.00                      9,900.00             0.00
11                Punch List & sign off complete            183,750.00               0.00           0.00             0.00             0.00                    183,750.00             0.00
                                                          1,050,000.00       374,500.00     134,525.00               0.00     509,025.00         48.5         540,975.00     50,902.50
                                                                                                                                                                                                  Exhibit ExB Page 5 of 5
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